Case 1:22-cv-11421-ADB Document 118-1 Filed 04/24/23 Page 1 of 6




                 EXHIBIT 1




                               4
      Case 1:22-cv-11421-ADB Document 118-1 Filed 04/24/23 Page 2 of 6



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https://www.youtube.com/watch?v=-l09cF-CFpk
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https://www.youtube.com/watch?v=0186p26GZlk
https://www.youtube.com/watch?v=0h7hTUBP72c
https://www.youtube.com/watch?v=0JtD_k1vDDk
https://www.youtube.com/watch?v=0KRHc7cu360
https://www.youtube.com/watch?v=0LiZ14TDxzA
https://www.youtube.com/watch?v=0wpBNWwvRNY
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https://www.youtube.com/watch?v=1pGRJ-6DM-I
https://www.youtube.com/watch?v=1pssG8In1-0
https://www.youtube.com/watch?v=1s0R3bKdgyA
https://www.youtube.com/watch?v=299NjdgjVSA
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https://www.youtube.com/watch?v=60x22thaNUk
https://www.youtube.com/watch?v=687DM0SwmhY
https://www.youtube.com/watch?v=6pNovGvECxs
https://www.youtube.com/watch?v=6XtOsPtZp_o
https://www.youtube.com/watch?v=7e45GpAsTaw
https://www.youtube.com/watch?v=8J5Z_vyX3BI
https://www.youtube.com/watch?v=8Nla-ru_Jjs
https://www.youtube.com/watch?v=9awPzJ4nohI
https://www.youtube.com/watch?v=9L6AkmMZnzc
https://www.youtube.com/watch?v=9OfI8QCoj5k
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https://www.youtube.com/watch?v=a96x2IKWB2I
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https://www.youtube.com/watch?v=dsmIE8rGC7g
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      Case 1:22-cv-11421-ADB Document 118-1 Filed 04/24/23 Page 3 of 6



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https://www.youtube.com/watch?v=JKZTccZVBwY
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https://www.youtube.com/watch?v=O781ku-STn4
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      Case 1:22-cv-11421-ADB Document 118-1 Filed 04/24/23 Page 4 of 6



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https://www.youtube.com/watch?v=WAlqRo5rsXc
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      Case 1:22-cv-11421-ADB Document 118-1 Filed 04/24/23 Page 5 of 6



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https://www.youtube.com/watch?v=xdfRJMNHPhg
https://www.youtube.com/watch?v=xNzLWiNS-Hc
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https://www.youtube.com/watch?v=yzDn0yjdnGQ
https://www.youtube.com/watch?v=YzVHIbFzvVk
https://www.youtube.com/watch?v=Zp4q6zvcfuM
https://www.youtube.com/watch?v=zRy37carDHc
https://www.youtube.com/watch?v=ztR4O42Sk_c
https://www.youtube.com/watch?v=zw4DVE31F3Q
https://www.youtube.com/watch?v=_G2FWvNapxM
https://www.youtube.com/watch?v=_GD7y6BCWgw
https://www.youtube.com/watch?v=_Hx24UNDmWo
https://www.youtube.com/watch?v=_TUJy6aRmwo
https://youtube.com/shorts/-e4iCsomHYI
https://youtube.com/shorts/-Pz_2Q9d1I8
https://youtube.com/shorts/0JVf3U8l1yw
https://youtube.com/shorts/1AyKfWbPJSk
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https://youtube.com/shorts/1T0DIS8urLM
https://youtube.com/shorts/1t4NVkHZxVo
https://youtube.com/shorts/45l5MaFH1Ts
https://youtube.com/shorts/4oMLTRRGYG0
https://youtube.com/shorts/4sQ3p1dABKY
https://youtube.com/shorts/5Dsjr9Jd3Vw
https://youtube.com/shorts/5mC2yUsv9Xw
https://youtube.com/shorts/5pqR0UzlHd0
https://youtube.com/shorts/7CgPF5gJoF0
https://youtube.com/shorts/7GkpShaeN08
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https://youtube.com/shorts/cnd8DZOrD74
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https://youtube.com/shorts/fnAGwA6ZN7I
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https://youtube.com/shorts/G3sc1Z61iMg
https://youtube.com/shorts/g4c65rkTmOA
https://youtube.com/shorts/Gcrl-iTO11o
https://youtube.com/shorts/GPk7hUGVx5g
https://youtube.com/shorts/GQRiHVNAdh4
https://youtube.com/shorts/gzRbRa6Lt20
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https://youtube.com/shorts/hxcSDmgL9qU
https://youtube.com/shorts/IJ11NoohZAA
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      Case 1:22-cv-11421-ADB Document 118-1 Filed 04/24/23 Page 6 of 6



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https://youtube.com/shorts/N6LNSUhoNxs
https://youtube.com/shorts/nk-EFaJshps
https://youtube.com/shorts/Nzd3d2nNGK8
https://youtube.com/shorts/Oh9cqnSaRnA
https://youtube.com/shorts/qCoz5NfzGR8
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https://youtube.com/shorts/S0LevukC10o
https://youtube.com/shorts/tTv3UmvoA3o
https://youtube.com/shorts/un6vjHFrZw0
https://youtube.com/shorts/urBRNqNdz70
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https://youtube.com/shorts/x6AFMvyFXfU
https://youtube.com/shorts/xDRU94Xgzcw
https://youtube.com/shorts/Xk2nIi1CGzU
https://youtube.com/shorts/XwsnGUJjekM
https://youtube.com/shorts/xYm3UQOt8A8
https://youtube.com/shorts/Y59taYccc1I
https://youtube.com/shorts/YkW3OxxCEaM
https://youtube.com/shorts/YNZ9akKG374
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                                         9
